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             UNITED STATES DISTRICT COURT
                           Eastern District of California
       Petition to Modify the Conditions or Term of Supervision
                     with Consent of the Offender
                      (Probation Form 49, Waiver of Hearing, is on file)

Name of                                                  Docket
                    Jensen Scott                                           1:04CR05321-003
Offender:                                                Number:
Name of Judicial
                             Senior United States District Judge Anthony W. Ishii
Officer:
Date of Original
                             9/26/2005
Sentence:

Original Offense: 21 U.S.C. § 846 and 841(a)(1) – Conspiracy to Distribute Cocaine Base
(CLASS C FELONY)

Original Sentence: 121 months custody Bureau of Prisons; 60 month Term of Supervised
Release; $100 special assessment. Mandatory drug testing; No firearms.

Special Conditions: Warrantless Search; Drug/Alcohol Treatment; Drug/Alcohol Testing;
Aftercare Co-payment; Registration (drug); DNA Collection.

Type of                TSR
Supervision:
Date Supervision                 8/10/2012
Commenced:

Other Court Actions:
None




                                 PETITIONING THE COURT

To modify the conditions of supervision as follows:

  7.    The defendant shall complete up to 200 hours of unpaid community service as directed
        by the probation officer. The defendant shall pay fees attendant to participation and
        placement in this program on a sliding scale as determined by the program. Community
        service shall be completed by the end of supervision.



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                                                                                          (08/13)
RE: JensenCase
           Scott1:04-cr-05321-LJO Document 86Docket
                                               FiledNumber:
                                                     08/06/141:04CR05321-003
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Justification: Jensen Scott is employed part time with Sacramento County In-Home Supportive
Services (IHSS) and provides his mother with in-home care. In addition, Scott is enrolled in
online courses at Phoenix University, part time. Although he should be applauded for his
willingness to continue his education, it appears Scott lacks direction. He would like to obtain a
degree in business management and open his own business, but he is unclear what industry he
would like to work in. Further, Scott has a poor employment history and has failed to secure
gainful employment while on supervision. The undersigned believes Scott would benefit from
community service, as it may provide him with direction and the opportunity to network. Scott
has signed a Probation Form 49 agreeing to modify his conditions of supervision to include
hours of community service. As such, it is respectfully recommended that the Court modify the
releasee’s conditions to include 200 hours of community service.

                                                  Respectfully submitted,
                                                  /s/ Miranda L. Lutke


                                                  MIRANDA L. LUTKE
                                                  United States Probation Officer
                                                  Telephone: (916) 786-2989
DATED:       8/5/2014
                                                  Reviewed by,
                                                  /s/ Michael A. Sipe


                                                  MICHAEL A. SIPE
                                                  Supervising United States Probation Officer


THE COURT ORDERS:

☒ Modification approved as recommended.

☐ Modification not approved at this time. Probation Officer to contact Court.

☐ Other



IT IS SO ORDERED.

Dated: August 5, 2014
                                           SENIOR DISTRICT JUDGE




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                                                                                              (04/13)
